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 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Petitioner VideoShare, LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
IN RE NONPARTY SUBPOENAS:                                                      CASE NUMBER:

VIDEOSHARE, LLC
                                                              Plaintiff(s),              2:21-mc-00464
                                     v.
GOOGLE, LLC AND YOUTUBE, LLC,
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                 VIDEOSHARE, LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST
VIDEOSHARE, LLC                                                               Petitioner; VideoShare is a Texas limited liability company.
                                                                              It has no parent corporation, and no publicly held
                                                                              corporation owns 10% or more of its stock.




         March 29, 2021                                    /s/ Josepher Li
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Petitioner VIDEOSHARE, LLC


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
